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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

 Nyra Jean Miller-Fields, individually and        Court File No. 24-cv-01372 (NEB/TNL)
 as Personal Representative of the Estate of
 Ricky Cobb, II,

                      Plaintiff,                          LR 7.1(f) WORD COUNT
                                                      COMPLIANCE CERTIFICATE
 vs.

 Ryan Londregan and Brett Seide,

                      Defendants.

       I, Janine Kimble, certify that the accompanying Memorandum of Law in support of

Defendant Brett Seide’s Motion to Stay Proceedings and Extend Time complies with Local

Rule 7.1(f). I further certify that, in preparation of this Memorandum, I used Microsoft

Word 365, and that this word processing program has been applied specifically to include

all text, including headings, footnotes, and quotations in the following word count. I further

certify that the above-referenced Memorandum contains 2,881 words.

Dated: April 25, 2024                        KEITH ELLISON
                                             Attorney General
                                             State of Minnesota

                                             s/ Janine Kimble
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                                             BRETT SEIDE
